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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO.: 1:10-cr-00131-AWI
12                                 Plaintiff,              STIPULATION AN ORDER TO
                                                           CONTINUE SENTENCING
13                  v.
14   JOSEPH NOLAN,
15                                 Defendant.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.       The parties to the above-captioned matter agree to vacate the defendant’s Monday,

21 November 3, 2014, sentencing hearing and reset the matter for January 26, 2015, at 10:00 a.m.

22          2. The continuance is necessitated by the need to effectuate the terms of the plea agreement.
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              Case 1:10-cr-00131-LJO Document 233 Filed 10/02/14 Page 2 of 2


     IT IS SO STIPULATED.
 1

 2 DATED:         October 1, 2014.   Respectfully submitted,
 3                                   BENJAMIN B. WAGNER
                                     United States Attorney
 4

 5                                   /s/ Karen A. Escobar___________________
                                     KAREN A. ESCOBAR
 6                                   Assistant United States Attorney
 7

 8
     DATED:       October 1, 2014.
 9
                                     /s/ Anthony Capozzi _____________
10                                   ANTHONY CAPOZZI
                                     MICHAEL D. NASATIR
11                                   Counsel for Defendant
12

13                                          ORDER
14
     IT IS SO ORDERED.
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16 Dated: October 2, 2014
                                           SENIOR DISTRICT JUDGE
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